                        UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF NORTH CAROLINA
                              WESTERN DIVISION

                                   No. 5:20-CR-254-lD



UNITED STATES OF AMERICA



               V.                                                   ORDER
DWIGHT DELL WILLIAMS




       This matter comes before the Court on Defendant's second amended motion for the

issuance of a Rule 17(b) subpoena to correct the address of Officer Nicole Pia. For good cause

shown, the Motion is hereby GRANTED, and the Clerk of Court is directed to issue the

subpoena attached to Defendant's Motion, requiring that Wayne County Probation Officer

Nicole Pia be directed to appear and testify at Defendant's Sentencing Hearing scheduled for the

January 3, 2022 term of Court and produce all records of her supervision of Defendant including,

but not limited to, electronic monitoring records. As Defendant is indigent, the Clerk of Court is

directed to forward the subpoena, once issued, to the United States Marshal for service.

       SO ORDERED.·

       This the_L_ day of bee,~ b.t.....      , 2021.



                                                        ~arable James'C. Dever
                                                        United States District Judge




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